 OAO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 1



                                      UNITED STATES DISTRICT COURT
                       MIDDLE                                       District of                             TENNESSEE
        UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                            V.                                             (For Revocation of Probation or Supervised Release)


                                                                           Case Number:                     3:06-00031
               JAMES ROBERTSON
                                                                           USM Number:                      17705-075
                                                                           Joseph F. Edwards
                                                                           Defendant’s Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s) One (1)                                        of the term of supervision.

G was found in violation of condition(s)                                                 after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                              Violation Ended

        1                    Defendant shall refrain from any unlawful use of a controlled                            9/5/12
                             Substance




      The defendant is sentenced as provided in pages 1 and 2 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
G The defendant has not violated condition(s)                                        and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No. 0826                                November 2, 2012
                                                                                  Date of Imposition of Judgment

Defendant’s Year of Birth:              1974
                                                                                  Signature of Judge

City and State of Defendant’s Residence:                                          Todd J. Campbell, United States District Judge
                                                                                  Name and Title of Judge
        Lebanon, Tennessee
                                                                                  November 2, 2012
                                                                                  Date




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AO 245D         (Rev. 12/07 Judgment in a Criminal Case for Revocations
                Sheet 2 – Imprisonment


DEFENDANT:               JAMES ROBERTSON                                                    Judgment — Page 2 of 2
CASE NUMBER:             3:06-00031
                                                     IMPRISONMENT

         The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: thirteen (13) months
        No period of Supervised Release is imposed.

                The Court makes the following recommendations to the Bureau of Prisons:




          X     The Defendant is remanded to the custody of the United States Marshal.

                The Defendant shall surrender to the United States Marshal for this District:
                         at                         p.m. on
                ____     as notified by the United States Marshal.


                The Defendant shall surrender for service of sentence at the institution designated by the Bureau of
                Prisons.
                         before 2 p.m. on
                ____     as notified by the United States Marshal.
                ____     as notified by the Probation or Pretrial Services Office.


                                                          RETURN
        I have executed this Judgment as follows:

_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
        Defendant delivered on ______________________________ to _______________________________________
a ___________________________________________ with a certified copy of this Judgment.

                                                                     _____________________________________________
                                                                     United States Marshal




                                                                     By: __________________________________________
                                                                         Deputy United States Marshal

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